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                                                                                                      U.S. DISTRICT COURT
                                                                                                          N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION
    DAISY HASTY,                     )
                                     )
        Plaintiff,                   )
                                     )
    v.                               )                     Case No. 2:19-cv-01456-SGC
                                     )
    FULTONDALE ON TAP, INC., et al., )
                                     )
        Defendants.                  )

                                               ORDER 1

        This is an action brought pursuant to the Fair Labor Standards Act, 29 U.S.C.

§ 201, et seq. (the “FLSA”) by Daisy Hasty, individually and on behalf of all others

similarly situated, naming as defendants Fultondale On Tap, Inc; On Tap Summit,

LLC; Elaine Beegle; and Todd Beegle. (Doc. 1).2 The plaintiff and the defendants

have filed a joint motion seeking approval of a settlement agreement resolving all

claims asserted in this action. (Doc. 36). A copy of the proposed settlement

agreement is attached to the motion, together with the declaration of Jody Forester

Jackson, counsel for the plaintiff. (Id.). For the reasons discussed below, the motion

is due to be granted, and this action is due to be dismissed with prejudice.




1
  The parties have consented to the exercise of dispositive jurisdiction by a magistrate judge
pursuant to 28 U.S.C. § 636(c). (Doc. 15).
2
  At this stage of the litigation, the plaintiff has not attempted to certify a class or collective action.
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I.    Background

      The plaintiff was employed by the defendants as a bartender and waitress from

February 2017 to July 2019. (Doc. 1). She alleges the defendants (1) enforced an

invalid “tip credit” policy that resulted in her being paid less than minimum wage,

(2) failed to pay her at a rate of at least one-and-one-half times her regular rate of

pay for hours worked in excess of 40 each week, and (3) failed to pay her at all for

some or all of the period from February 2019 to June 2019. (Id.). She seeks to

recover both unpaid minimum wages and unpaid overtime compensation, liquidated

damages, costs, and attorneys’ fees. (Id.). The defendants deny they violated the

FLSA. (Doc. 36).

      Notwithstanding their respective positions, the parties acknowledge continued

litigation of this dispute would be expensive and time-consuming and that the

outcome of continued litigation is uncertain. (Id.). Given the foregoing, after an

exchange of documents that permitted counsel for each party to evaluate all claims

and defenses asserted and following extensive negotiations, the parties determined

settlement of the plaintiff’s claims is a mutually appealing option. (Id.). The terms

of the proposed settlement are as follows:

      1.     Within 10 days from the entry date of this order, the defendants shall

deliver to the plaintiff’s counsel (a) one check made out to the plaintiff in the amount

of $2,678.02, less applicable withholdings; (b) one check made out to the plaintiff


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in the amount of $3,321.98; and (c) one check made out to the plaintiff’s counsel in

the amount of $14,000.00. (Id.).

      2.     In exchange for these monetary payments, the plaintiff agrees, inter

alia, to release the defendants from all claims related to her employment by them

and to keep the terms of the proposed settlement confidential. (Id.).

      The plaintiff’s recovery under the terms of the proposed settlement represents

all of the actual unpaid wages she alleges the defendants owe her and which she

could recover at trial under the applicable two-year statute of limitations, together

with liquidated damages. (Id.). The plaintiff states she is satisfied the proposed

settlement is in her bests interests and constitutes a fair and reasonable compromise

of her claims. (Id.).

II.   Discussion

      An employer who violates the FLSA is liable to its employee for unpaid

minimum wages or unpaid overtime compensation, as the case may be, together with

an equal amount of liquidated damages (subject to a good faith defense). 29 U.S.C.

§§ 216(b), 260. Furthermore, in an action to recover sums owed under the FLSA, a

court is required to award a prevailing plaintiff costs and reasonable attorneys’ fees.

§ 216(b); see also Silva v. Miller, 307 F. App’x 349, 351 (11th Cir. 2009). Parties

cannot settle a private action for unpaid minimum wages or unpaid overtime

compensation under the FLSA absent court approval. Lynn’s Food Stores, Inc. v.


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United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Before approving an FLSA

settlement, a court must scrutinize the settlement to determine whether it is a “fair

and reasonable resolution of a bona fide dispute.” Id. at 1353-55.

      Having considered the allegations contained in the complaint, the parties’

joint motion seeking approval of their proposed settlement agreement, and the

proposed settlement agreement itself, the undersigned determines the terms of the

proposed settlement constitute a fair and reasonable resolution of a bona fide dispute

under the FLSA.

      The undersigned notes the parties have stated the attorneys’ fees payable to

the plaintiff’s counsel were determined separately from the total amount payable to

the plaintiff and did not reduce or otherwise compromise the plaintiff’s recovery.

(Doc. 36). See Bonetti v. Embarq Mgmt. Co., 715 F. Supp. 2d 1222, 1228 (M.D.

Fla. 2009) (If “the plaintiff attorneys’ fee is agreed upon separately and without

regard to the amount paid to the plaintiff, then, unless the settlement does not appear

reasonable on its face or there is reason to believe that the plaintiff’s recovery was

adversely affected by the amount of the fees paid to his attorney, the Court will

approve the settlement without separately considering the reasonableness of the fee

to be paid to plaintiff’s counsel.”). The undersigned otherwise finds the amount of

fees to be recovered by the plaintiff’s counsel to be reasonable.




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III.   Conclusion

       For the foregoing reasons, it is ORDERED that the joint motion for approval

of the proposed settlement agreement (Doc. 36) is GRANTED. The proposed

settlement agreement is APPROVED. The claims asserted in this action are

DISMISSED WITH PREJUDICE, with each party to bear their own costs. The

court retains jurisdiction to enforce the terms of the settlement agreement.

       DONE this 9th day of February, 2021.



                                              ______________________________
                                              STACI G. CORNELIUS
                                              U.S. MAGISTRATE JUDGE




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